      Case 8-19-71469-ast   Doc 10     Filed 03/15/19    Entered 03/15/19 14:56:25




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 __________________________________________
In re:

       Luz Mensing,

                                                        Chapter 7
                                                        Case No. 19-71469-AST
                              Debtor.
__________________________________________


                             MEMORANDUM OF LAW

                                        FACTS

       This Chapter 7 bankruptcy case is before the Court on Motion of Ajax Mortgage

Loan Trust 2018-F, Mortgage-Backed Securities, Series 2018-F, by U.S. Bank National

Association, as Indenture Trustee (herein after “U.S. Bank”) by its servicing agent

Gregory Funding, LLC (hereinafter “GF”), a secured creditor, for relief from the

automatic stay.

       On April 5, 2005, the debtor borrowed $308,000.00 from JPMorgan Chase Bank,

N.A. The indebtedness was evidenced by a note, which was secured by a mortgage on

the aforesaid real property. The loan is serviced by GF. As servicing agent, GF accepts

payments and maintains loan records.

       The aforementioned loan was modified by an agreement dated May 1, 2008.

       The aforementioned loan was further modified by an agreement dated February

1, 2012.
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       According to the 362 worksheet, executed by Julia Waco, a Bankruptcy Team

Lead with GF, the loan is contractually due for the June 1, 2013 monthly mortgage

payment and the total indebtedness is $453,489.95.

       5.     According to the Property Valuation, obtained by GF on our about

October 31, 2018 the subject property is valued at $443,000.00.

                                               POINT I

       Bankruptcy Code Section 362(d) provides that:

              "On request of a party in interest and after notice and a hearing, the court
shall grant relief from the stay provided under subsection (a) of this section, such as by
terminating, annulling, modifying, or conditioning such stay -

              (1) for cause, including the lack of adequate protection of an interest in
property of such party in interest;

                (2) with respect to a stay of an act against property under subsection (a) of
this section, if-

                (A) the debtor does not have equity in such property; . . .”



The Debtor’s failure to make regular mortgage payments as they become due constitutes

“cause” to lift the automatic stay. In Re Taylor, 151 B.R. 646 (E.D.N.Y. 1993). The Debtor is

not making payments on their mortgage as required by the debt instrument. Therefore,

U.S. Bank’s security interest is not adequately protected, constituting “cause” to terminate

the automatic stay as it pertains to U.S. Bank’s lien interest.
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      WHEREFORE Ajax Mortgage Loan Trust 2018-F, Mortgage-Backed Securities,

Series 2018-F, by U.S. Bank National Association, as Indenture Trustee by its servicing

agent Gregory Funding, LLC, respectfully requests that Motion be in all respects granted

and that GF be awarded such other and further relief as the Court may deem just and

proper.

DATED: March 15, 2019                    Yours, etc.
                                         SCHILLER, KNAPP, LEFKOWITZ
                                         & HERTZEL LLP

                                      By: ___s/Lisa Milas_____ __________
                                          Lisa Milas, Esq.
                                          Attorneys for Ajax Mortgage Loan Trust 2018-
                                          F, Mortgage-Backed Securities, Series 2018-F,
                                          by U.S. Bank National Association, as
                                          Indenture Trustee by its servicing agent
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